
PER CURIAM.
This is an appeal from a final judgment of adoption. The father of the child objected to the child being adopted by the child’s grandfather and the grandfather’s wife. Although we believe the evidence would support a determination that it would be in the best interest of the child to be placed in the temporary custody of the grandfather, we find the record lacks the requisite clear and convincing proof that the father has abandoned the child. In Re Adoption of Noble, 349 So.2d 1215 (Fla. 4th DCA 1977).
Accordingly, the judgment of the trial court is reversed with directions for further proceedings consistent with this opinion.
ANSTEAD and HURLEY, JJ., concur.
MOORE, J., dissents with opinion.
